         Case 2:11-cr-00427-TLN-CKD Document 33 Filed 10/05/11 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW M. SCOBLE, Bar# 237432
     Assistant Federal Defender
 3   RACHELLE BARBOUR, Bar #185395
     Research and Writing Attorney
 4   801 I Street, 3RD Floor
     Sacramento, California 95814
 5   Telephone (916) 498-5700
 6   Attorney for Defendant
     ANGELA SHAVLOVSKY
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )     Cr.S. 11-427-LKK
                                    )
12                   Plaintiff,     )     ORDER RE WAIVER OF
                                    )     DEFENDANT'S PRESENCE
13        V.                        )
                                    )
14   ANGELA SHAVLOVSKY,             )
                                    )
15                   Defendant.     )
                                    )
16                                  )
17
18
19        Defendant hereby waives the right to be present in person in open
20   court upon the hearing of any motion or other proceeding in this cause,
21   including, but not limited to, when the case is ordered set for trial,
22   when a continuance is ordered, and when any other action is taken by
23   the court before or after hearing, except upon arraignment, plea,
24   impanelment of jury and imposition of sentence.        Defendant hereby
25   requests the court to proceed during every absence of hers which the
26   court may permit pursuant to this waiver; agrees that her interests
27   will be deemed represented at all times by the presence of her
28   attorney, the same as if defendant were personally present; and further
         Case 2:11-cr-00427-TLN-CKD Document 33 Filed 10/05/11 Page 2 of 2


 1   agrees to be present in court ready for hearing any day and hour the
 2   court may fix in her absence.
 3        Defendant further acknowledges that she has been informed of her
 4   rights under Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act), and
 5   authorizes her attorney to set times and delays under the Act without
 6   defendant being present.
 7   DATED: October 3, 2011
 8                                          /s/ Angela Shavlovsky
                                            ANGELA SHAVLOVSKY
 9                                          Defendant
10
11   APPROVED:
12
     /s/ Rachelle Barbour
13
     RACHELLE BARBOUR
14   Research and Writing Attorney
     MATTHEW M. SCOBLE
15   Assistant Federal Defender
     Attorneys for Defendant
16
     DATED:   October 3, 2011
17
18
     IT IS SO ORDERED.
19
     Dated: October 4, 2011
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